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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 13–cv–03309–REB–KMT


  MARTIN THOMAS WIRTH,

         Plaintiff,

  v.

  JOHN HICKENLOOPER, in his official capacity as Governor of Colorado,
  JOHN SUTHERS, in his official capacity as Attorney General of Colorado,
  STEPHEN A. GROOME, in his official capacity as 11th District Court Judge,
  VICKI ARMSTRONG, in her official capacity as Public Trustee of Park County,
  NATIONSTAR MORTGAGE, LLC,
  LAWRENCE E. CASTLE, in his corporate and individual capacities,
  THE CASTLE LAW GROUP, LLC,
  MARY HAGER, individually, and
  FEDERAL NATIONAL MORTGAGE ASSOCIATION (FANNIE MAE),

         Defendants.



                                        MINUTE ORDER

  ORDER ENTERED BY MAGISTRATE JUDGE KATHLEEN M. TAFOYA

  “Defendants the Castle Law Group, LLC and Lawrence E. Castles’ Motion to Strike Fourth
  Amended Complaint Pursuant to Fed. R. Civ. P. 12(f) and Fed. R. Civ. P. 15(a)” (Doc. No. 42,
  filed March 4, 2014) is GRANTED. Fed. R. Civ. P. 15(a)(1) allows a party to amend its
  pleading once as a matter of course within twenty-one days after service of a responsive pleading
  or twenty-one days after service of a motion under Rule 12(b), (e), or (f), whichever is earlier.
  Plaintiff previously has amended his Complaint two times. The first amendment was required
  pursuant to this Court’s pro se review process. (See Doc. No. 4.) The second amendment was
  allowed, as Plaintiff’s “matter of course amendment,” pursuant to Fed. R. Civ. P. 15(a)(1). (Doc.
  No. 20.) The court has not granted Plaintiff leave to amend his complaint again, nor have the
  defendants given their written consent for an amendment. See Fed. R. Civ. P. 15(a)(2).
  Therefore, the “Fourth Amended Complaint for Injunctive and Declaratory Relief Regarding
  Colorado Statutory Violations of Constitutional Restraints, Rules of Evidence, and Due Process”
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  (Doc. No. 38) is STRICKEN. If Plaintiff wishes to amend his complaint, he must file a motion
  to amend and attach the proposed amended complaint to the motion.

  Dated: March 5, 2014




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